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IN THE UNITED STATES DISTRICT COURT FOR THE

   

EASTERN DISTRICT OF VIRGINIA

  
        

     
  

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Alexandria Division INIA

     

UNITED STATES OF AMERICA )

Vv. CRIMINAL NO. 1:11 CR 254
DONALD JOHNSON, ;

Defendant.

PLEA AGREEMENT

Denis J. McInerney, Chief, Fraud Section of the Criminal Division of the United States
Department of Justice; Justin Goodyear, Trial Attorney; Neil H. MacBride, United States Attorney
for the Eastern District of Virginia, and Raymond E, Patricco Jr., Assistant United States Attorney;
and the defendant, DONALD JOHNSON: and the defendant’s counsel have entered into an
agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The terms of the
agreement are as follows:

1, Offenses and Maximum Penalties

The defendant agrees to waive indictment and plead guilty to a one-count criminal
information charging the defendant with securities fraud (in violation of Title 15, United States
Code, Sections 78) and 78ff). The maximum penalties for securities fraud are a maximum term of
twenty (20) years of imprisonment; a fine of $5,000,000; or both. The defendant understands that
this supervised release term is in addition to any prison term the defendant may receive, and that a
violation of a term of supervised release could result in the defendant being returned to prison for

the full term of supervised release.
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2. Factual Basis for the Plea
The defendant will plead guilty because the defendant is in fact guilty of the charged offense.
The defendant admits the facts set forth in the statement of facts filed with this plea agreement and
agrees that those facts establish guilt of the offenses charged beyond a reasonable doubt. The
statement of facts, which is hereby incorporated into this plea agreement, constitutes a stipulation
of facts for purposes of Section 1B1.2(a) of the Sentencing Guidelines.
3. Assistance and Advice of Counsel
The defendant is satisfied that the defendant’s attorneys have rendered effective assistance.
The defendant understands that by entering into this agreement, the defendant surrenders certain
rights as provided in this agreement. The defendant understands that the rights of criminal
defendants include the following:
a. the right to plead not guilty and to persist in that plea;
b. the right to a jury tnal;
C. the right to be represented by counsel - and if necessary have the court
appoint counsel — at trial and at every other stage of the proceedings; and
d. the right at trial to confront and cross-examine adverse witnesses, to be
protected from compelled self-incrimination, to testify and present evidence,
and to compel the attendance of witnesses.
4, Role of the Court and the Probation Office
The defendant understands that the Court has jurisdiction and authority to impose any
sentence within the statutory maximum described above but that the Court will determine the

defendant’s actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands that
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the Court has not yet determined a sentence and that any estimate of the advisory sentencing range
under the U.S. Sentencing Commission’s Sentencing Guidelines Manual the defendant may have
received from the defendant’s counsel, the United States, or the Probation Office, is a prediction,
not a promise, and is not binding on the United States, the Probation Office, or the Court.
Additionally, pursuant to the Supreme Court’s decision in United States v. Booker, 543 U.S. 220,
125 S. Ct. 738 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may
impose a sentence above or below the advisory sentencing range, subject only to review by higher
courts for reasonableness. The United States makes no promise or representation concerning what
sentence the defendant will receive, and the defendant cannot withdraw a guilty plea based upon the
actual sentence.

5. Waiver of Appeal, FOIA and Privacy Act Rights

The defendant also understands that Title 18, United States Code, Section 3742 affords a
defendant the right to appeal the sentence imposed. Nonetheless, the defendant knowingly waives
the right to appeal the conviction and any sentence within the statutory maximum described above
(or the manner in which that sentence was determined) on the grounds set forth in Title 18, United
States Code, Section 3742 or on any ground whatsoever, in exchange for the concessions made by
the United States in this plea agreement. This agreement does not affect the rights or obligations
of the United States as set forth in Title 18, United States Code, Section 3742(b). The defendant
also hereby waives all rights, whether asserted directly or by a representative, to request or receive
from any department or agency of the United States any records pertaining to the investigation or
prosecution of this case, including without limitation any records that may be sought under the

Freedom of Information Act, Title 5, United States Code, Section 552, or the Privacy Act, Title 5,
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United States Code, Section 552a.

6. Recommended Sentencing Factors

In accordance with Rule | 1(c)(1)(B) of the Federal Rules of Criminal Procedure, the United

States and the defendant will recommend to the Court that the following provisions of the

Sentencing Guidelines apply:

a.

pursuant to USSG § 2B1.4(a), the base offense level for the conduct charged
is 8;

pursuant to USSG § 2B1.1(b)(1)(H), the conduct charged resulted in a loss
of more than $400,000.00 and less than $1,000,000 and qualifies for a
14-level upward adjustment;

pursuant to U.S.S.G. § 3E1.1(b), the defendant has assisted the government
in the investigation and prosecution of the defendant’s own misconduct by
timely notifying authorities of the defendant’s intention to enter a plea of
guilty, thereby permitting the government to avoid preparing for trial and
permitting the government and the Court to allocate their resources
efficiently. If the defendant qualifies for a 2-level decrease in offense level
pursuant to U.S.S.G. § 3E1.1(a) and the offense level prior to the operation
of that section is a level 16 or greater, the government agrees to file, pursuant
to U.S.S.G. § 3E1.1(b), a motion prior to, or at the time of, sentencing for an

additional 1-level decrease in the defendant’s offense level.

The United States and the defendant may argue at sentencing that additional provisions of

the Sentencing Guidelines, including the 2-level upward adjustment for abuse of a position of special
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trust (as referenced in Note | to USSG § 2B1.4), do or do not apply. In addition, the United States
reserves the right to argue at sentencing that the defendant engaged in a series of transactions in the
securities of Energy Conversion Devices, Inc. based on material, non-public information in his
possession concerning that company’s earnings announcement on or about May 8, 2008 (“the ENER
Trades”). The United States further reserves the right to argue that the ENER Trades constituted
relevant conduct for purposes of sentencing.

7. Venue

The defendant waives any challenge to venue in the Eastern District of Virginia. The
defendant understands that Federal Rule of Criminal Procedure 18 affords the defendant the right
to have his offense prosecuted in the district in which the offense was committed. The defendant
knowingly consents to have the offenses set forth in the criminal information prosecuted in the
Eastern District of Virginia.

8. Special Assessment

Before sentencing in this case, the defendant agrees to pay a mandatory special assessment
of one hundred dollars ($100.00) per count of conviction.

9. Payment of Monetary Penalties

The defendant understands and agrees that whatever monetary penalties are imposed by the
Court pursuant to Title 18, United States Code, Section 3613, will be due and payable immediately
and subject to immediate enforcement by the United States. Furthermore, the defendant agrees to
provide all of his financial information to the United States and the Probation Office and, if
requested, to participate in a pre-sentencing debtor’s examination. If the Court imposes a schedule

of payments, the defendant understands that the schedule of payments is merely a minimum
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schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment. If the defendant is incarcerated, the defendant agrees to
participate in the Bureau of Prisons’ Inmate Financial Responsibility Program, regardless of whether
the Court specifically directs participation or imposes a schedule of payments.

10. Limited Immunity from Further Prosecution

The Fraud Section of the Criminal Division of the United States Department of Justice and
the Criminal Division of the United States Attorney’s Office for the Eastern District of Virginia will
not further criminally prosecute the defendant for the specific conduct described in the information
or statement of facts. The defendant understands that this agreement is binding only upon the Fraud
Section of the Criminal Division of the United States Department of Justice and the Criminal
Division of the United States Attorney’s Office for the Eastern District of Virginia. This agreement
does not bind the Civil Division of the United States Department of Justice or the Civil Division of
the United States Attorney’s Office for the Eastern District of Virginia or any other United States
Attorney’s Office, nor does it bind any other Section of the Department of Justice, nor does it bind
any other state, local, or federal prosecutor. It also does not bar or compromise any civil, tax, or

administrative claim pending or that might be made against the defendant.
ll. The Defendant’s Obligations Regarding Assets Subject to Forfeiture

The defendant agrees to identify all assets over which the defendant exercises or exercised
control, directly or indirectly, within the past seven years, or in which the defendant has or had
during that time any financial interest. The defendant agrees to take all steps as requested by the
United States to obtain from any other parties by any lawful means any records of assets owned at

any time by the defendant. The defendant agrees to undergo any polygraph examination the United
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States may choose to administer concerning such assets and to provide and/or consent to the release
of the defendant’s tax returns for the previous six years. Defendant agrees to forfeit to the United
States all of the defendant’s interests in any asset of a value of more than $1,000 that, within the last
eight years, the defendant owned, or in which the defendant maintained an interest, the ownership

of which the defendant fails to disclose to the United States in accordance with this agreement.
12. Forfeiture Agreement

The defendant agrees to forfeit all interests in any asset that the defendant owns or over
which the defendant exercises control, directly or indirectly, as well as any property that is traceable
to, derived from, fungible with, or a substitute for property that constitutes the proceeds of his
offense. The defendant further agrees to waive all interest in the asset(s) in any administrative or
judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to
consent to the entry of orders of forfeiture for such property and waives the requirements of Federal
Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment. The defendant understands that the forfeiture of assets is part of the sentence that may

be imposed in this case.

The defendant understands that, as described in Section 6 above, the United States intends
to argue at sentencing that the ENER Trades constitute relevant conduct, and that the proceeds of
these transactions should be included in the forfeiture amount. The defendant retains the right to
argue that the ENER Trades do not constitute relevant conduct and that the proceeds of these

transactions should not be included in the forfeiture amount.
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13. Waiver of Further Review of Forfeiture

The defendant further agrees to waive all constitutional and statutory challenges in any
manner (including direct appeal, habeas corpus, or any other means) to any forfeiture carried out in
accordance with this Plea Agreement on any grounds, including that the forfeiture constitutes an
excessive fine or punishment. The defendant also waives any failure by the Court to advise the
defendant of any applicable forfeiture at the time the guilty plea is accepted as required by Rule
11(b)(1)Q). The defendant agrees to take all steps as requested by the United States to pass clear
title to forfeitable assets to the United States, and to testify truthfully in any judicial forfeiture
proceeding. The defendant understands and agrees that all property covered by this agreement is
subject to forfeiture as proceeds of illegal conduct, property facilitating illegal conduct, property
involved in illegal conduct giving rise to forfeiture, and substitute assets for property otherwise

subject to forfeiture.
14. _ Breach of the Plea Agreement and Remedies

This agreement is effective when signed by the defendant, the defendant’s attorney, and an
attorney for the United States. The defendant agrees to entry of this plea agreement at the date and
time scheduled with the Court by the United States (in consultation with the defendant’s attorney).
If the defendant withdraws from this agreement, or commits or attempts to commit any additional
federal, state or local crimes, or intentionally gives materially false, incomplete, or misleading

testimony or information, or otherwise violates any provision of this agreement, then:

a. The United States will be released from its obligations under this agreement,
including any obligation to seek a downward departure or a reduction in

sentence. The defendant, however, may not withdraw the guilty plea entered

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pursuant to this agreement;

b. The defendant will be subject to prosecution for any federal criminal
violation, including, but not limited to, perjury and obstruction of justice, that
is not time-barred by the applicable statute of limitations on the date this
agreement is signed. Notwithstanding the subsequent expiration of the
statute of limitations, in any such prosecution the defendant agrees to waive

any statute-of-limitations defense; and

c. Any prosecution, including the prosecution that is the subject of this
agreement, may be premised upon any information provided, or statements
made, by the defendant, and all such information, statements, and leads
derived therefrom may be used against the defendant. The defendant waives
any right to claim that statements made before or after the date of this
agreement, including the statement of facts accompanying this agreement or
adopted by the defendant and any other statements made pursuant to this or
any other agreement with the United States, should be excluded or
suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f), the Sentencing

Guidelines or any other provision of the Constitution or federal law.

Any alleged breach of this agreement by either party shall be determined by the Court in an
appropriate proceeding at which the defendant’s disclosures and documentary evidence shall! be
admissible and at which the moving party shall be required to establish a breach of the plea
agreement by a preponderance of the evidence. The proceeding established by this paragraph does

not apply, however, to the decision of the United States whether to file a motion based on

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“substantial assistance” as that phrase is used in Rule 35(b) of the Federal Rules of Criminal

Procedure and Section 5K 1.1 of the Sentencing Guidelines and Policy Statements. The defendant

agrees that the decision whether to file such a motion rests in the sole discretion of the United States.

15. Nature of the Agreement and Modifications

This written agreement constitutes the complete plea agreement between the United States,

the defendant, and the defendant’s counsel. The defendant and his attorney acknowledge that no

threats, promises, or representations have been made, nor agreements reached, other than those set

forth in writing in this plea agreement, to cause the defendant to plead guilty. Any modification of

this plea agreement shall be valid only as set forth in writing in a supplemental or revised plea

agreement signed by all parties.

By:

Denis J. McInerney

Chief

Criminal Division, Fraud Section
United States Department of Justice

Justin Goodyear
Trial Attorney

 

Neil H. MacBride
United States Attorney
Eastern District of Virginia

Raymond E. Patricco Jr.
Assistant United States Attorney

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Defendant’s Signature: I hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending criminal information. Further, | fully understand
all rights with respect to 18 U.S.C. § 3553 and the provisions of the Sentencing Guidelines Manual
that may apply in my case. I have read this plea agreement and carefully reviewed every part of it

with my attorney. I understand this agreement and voluntarily agree to it.

 

Date: 24 May y Deine \ \Pevign
Donald Johnson
Defendant

Defense Counsel Signature: | am counsel for the defendant in this case. I have fully
explained to the defendant the defendant’s rights with respect to the pending information. Further,
| have reviewed 18 U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have fully explained
to the defendant the provisions that may apply in this case. I have carefully reviewed every part of
this plea agreement with the defendant. To my knowledge, the defendant’s decision to enter into

this agreement is an informed and voluntary one.

Date: spel) f Cc

Jens A. Simms, Esq.
Counsel for the Defendant
